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                              PUBLIC DEFENDER SERVICE
                                        FOR THE DISTRICT OF COLUMBIA

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        October 23, 2003
        Hon. Rufus King III
        Chief Judge, Superior Court of the District of Columbia
        500 Indiana Ave, N.W.
        Room 3500
        Washington, D.C. 20001

        Todd Dillard
        United States Marshal for the Superior Court of the District of Columbia
        500 Indiana Ave, N.W.
        Room C250
        Washington, D.C. 20001

        Odie Washington
        Director, District of Columbia Department of Corrections
        1923 Vermont Ave., N.W.
        Washington, D.C. 20001


        Dear Chief Judge King, Mr. Dillard and Mr. Washington:

                I write to alert you to a very serious problem currently affecting criminal defendants whose cases
        are successfully resolved, either by dismissal or by acquittal, in the D.C. Superior Court. In recent
        months, we have learned that such persons are regularly denied timely release, spending hours and
        sometimes days in the District’s custody after all legal bases for their detention have evaporated and
        contrary to the express orders of the Court’s own judicial officers. Instead, these presumptively free
        citizens are subjected to unlawful seizures, unlawful searches and deprivation of their liberty without
        due process of law. In our view, this practice is completely unacceptable, patently unconstitutional and
        exposes the District of Columbia to substantial civil liability.

                The law on this issue is clear. Post-dismissal and post-acquittal detentions are seizures requiring
        constitutional justification. Courts across the country have determined that situations where legally
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released individuals are denied actual physical freedom “are almost indistinguishable from an actual
formal arrest” and that such individuals are essentially “re-seized” for the purposes of constitutional
analysis. Jones v. Cochran, 1994 U.S. Dist. LEXIS 20625, *16 (S.D. Fla. 1994). In the absence of
probable cause or legitimate exigency, then, these detentions violate the Fourth Amendment. Young v.
City of Little Rock, 249 F.3d 730, 736 (8th Cir. 2001); Lewis v. O’Grady, 853 F.2d 1366, 1372 (7th Cir.
1988); Fowler v. Block, 2 F.Supp. 2d 1268, 1279 (C. D. Cal. 1998); Vanke v. Block, 1998 U.S. Dist.
LEXIS 23488 *53-54 (C.D. Calif. 1998); Jones v. Cochran, 1994 U.S. Dist. LEXIS at *17.

         It has been suggested to our office that continued detention of legally free individuals is justified
by a desire to explore the possibility of outstanding warrants or detainers.1 The courts do not agree. It
has in fact been expressly held that the random possibility of a pending active warrant does not provide
sufficient basis for seizures of constitutional caliber. Indeed, courts have found that “[t]he possibility
that another warrant … [is] in existence” does not constitute even “particularized suspicion,” let alone
probable cause. Jones v. Cochran, 1994 U.S. Dist. LEXIS at *15. Accordingly, mere “speculation that
a want or hold may appear, absent any particularized reason to expect its appearance for a given
individual, does not provide a lawful basis to detain that individual under the Fourth Amendment.”
Vanke v. Block, 1998 U.S. Dist. Lexis 23488 at *4 (C.D. Calif. 1998). In addition, unjustifiable
overdetention constitutes a Due Process Clause violation. Court after court has accordingly held that
excessive delay in the processing of legally free individuals can give rise to unconstitutional – and
actionable – deprivations of liberty. See, e.g., Young v. City of Little Rock, 249 F.3d at 736; Fowler v.
Block, 2 F.Supp. 2d at 1279; Jones v. Cochran, 1994 U.S. Dist. LEXIS at *18. Finally, “the elements of
a constitutional claim for false arrest are substantially identical to the elements of a common law false
arrest claim,” Scott v. District of Columbia, 101 F.3d 748, 753 (D.C. Cir. 1996), as “the gravamen of a
suit for false arrest or false imprisonment is an unlawful detention.” Gabrou v. May Department Stores
Company, 462 A.2d 1102, 1104 (D.C. 1982). Current overdetention practices therefore also expose the
District to significant civil tort liability.2

        The Public Defender Service is aware that a class-action lawsuit addressing these very issues,
Bynum v. D.C., CA No. 02-956, is currently pending in U.S. District before the Hon. R. Lamberth. The
parties’ exposure from this litigation may well be substantial given that, as one court has recently

1
  It has also been suggested that such detentions are permissible under the dictates of Riverside v.
McLaughin, 500 U.S. 44 (1991). Riverside, however, authorizes only limited additional detention in the
wake of a presumptively lawful arrest and pending a legal determination of probable cause. Riverside
therefore provides no authority for the incarceration of individuals that have been neither legally
arrested nor detained for the purpose of a probable cause determination.
2
  Interestingly, D.C. Code § 24-201.06 provides that an individual who is serving a sentence is entitled
to release on the day his or her sentence expires. Many of our recently acquitted clients, however, have
not been released until the day after their cases have terminated. Surely, a person whose term of
incarceration has ended by virtue of his legal vindication is entitled to, at the very least, the same timely
release protections afforded those who have been actually convicted of a crime.

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observed, damage awards may




properly compensate both for the actual period of unlawful detention and for “physical and emotional
injuries … suffer[ed] after … release.” County of Los Angeles v. Superior Court, 92 Cal. Rptr. 2d 668,
675 (Cal. App. 2000). No one would willingly spend even a single day in jail; reasonable jurors will
likely and rightly impose significant damage awards in favor of individuals forced to do so unlawfully.
We represent many such individuals and have begun tracking instances illegal overdetention for
potential referral to Bynum class counsel.

       We therefore propose that you consider immediate implementation of a policy that will remedy a
chronic and grievous problem as well as limit the District’s significant and expanding liability in this
area.3 We propose specifically that ‘warrant checks’ be conducted by the Department of Corrections in
advance for all inmates with potentially dispositive court dates. Alternatively, we would be willing to
work with the Marshals Service to develop mechanisms for conducting these checks from the
courthouse during or immediately following relevant court proceedings.4 The technology to support in-
house warrant checks at Superior Court already exists and is used every day by the Deputy United States
Marshals who process releasees in both C-10 and J-10. Other options for streamlining the release
process include sending potential releasees to court with a change of civilian clothing or, better yet,
allowing releasees the option of returning to collect their belongings from the D.C. Jail or the
Correctional Treatment Facility but not requiring that they be detained for this purpose.5


3
  Implementation of a policy to remedy this problem can only inure to the District’s benefit, protecting
the District’s interests without increasing its exposure to liability for past violations. As you are no
doubt aware, neither discussion nor implementation of any remedy can be construed as an admission of
any kind with respect to any pending or future litigation. Federal Rule of Evidence 407; Ray v.
American National Red Cross, 696 A.2d 399, 408 (D.C. 1996).
4
  More than one court has endorsed similar practices designed to eliminate “administrative foot
dragging,” Young v. City of Little Rock, 249 F.3d at 736, and to cure otherwise illegal overdetention.
The Southern District of Florida, for example, has noted that “a check to determine whether any holds
are in existence in a particular case can be accomplished in advance of verdict and need not take more
than fifteen minutes.” Jones v. Cochran, 1994 U.S. Dist. LEXIS at *16. The Central District of
California has similarly observed that “it is usually no surprise to the courtroom deputies, or those
responsible for a criminal defendant’s custody between the courtroom and the holding cell, that a verdict
is about to come down, that the court is considering some motion to dismiss or that a deal has been
reached…[Warrant] checks can [therefore] occur at anytime between the original arrest and the case’s
ultimate disposition” Fowler v. Block, 2 F.Supp. 2d at 1279.
5
  See e.g. Lewis v. O’Grady, 853 F.2d at 1368, n.7; Young v. City of Little Rock, 249 F.3d at 736
(noting that releasees ought to have the option of foregoing certain housekeeping aspects of institutional
discharge – such as the provision of civilian clothing and the immediate restoration of the inmate’s
personal property – in order to expedite their release).

                                                                                                         3


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Thank you very much for your immediate attention to this very important issue. I look forward to
hearing from you soon.


                                            Very Truly Yours,


                                            Ronald S. Sullivan Jr.
                                            Director, Public Defender Service for the District of
                                            Columbia




cc:    Hon. Noel A. Kramer
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